     Case 1:12-cr-00168-DAD-BAM Document 65 Filed 05/07/14 Page 1 of 2


1    Carolyn D. Phillips #103045
     Attorney at Law
2    P. O. Box 5622
     Fresno, California 93755-5622
3    559/248-9833

4    Attorney for defendant Shirley Davidson

5

6                 IN THE UNITED STATES DISTRICT COURT IN AND FOR

7                         THE EASTERN DISTRICT OF CALIFORNIA

8
     UNITED STATES OF AMERICA,            )            Case No. 1:12-cr-00168 AWI
                                          )
9
                                          )            STIPULATION AND
                        Plaintiff,        )            ORDER FOR SETTING HEARING
10
                                          )
     v.                                   )
11
                                          )            New Date: May 16, 2014
     SHIRLEY DAVIDSON, et al.,            )            Time: 1:30 p.m.
12
                                          )            Crtrm: Hon. Anthony W. Ishii
                        Defendants.       )
13
     ___________________________________ )
14
            IT IS HEREBY STIPULATED by and between the parties hereto, and through
15
     their respective attorneys of record herein, Grant B. Rabenn, counsel for the United
16
     States, and Carolyn D. Phillips, counsel for defendant Shirley Davidson, that further
17
     hearing on Defendant Shirley Davidson’s Competency Motion shall be heard May 16,
18
     2014, 1:30 p.m.
19
                   So stipulated.
20

21   Dated: May 6, 2014                              /s/ Carolyn D. Phillips
                                                   CAROLYN D. PHILLIPS
22                                                 Attorney for Shirley Davidson
     Stipulation and Order Re: Competency Hearing
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/BAM                       1
     Case 1:12-cr-00168-DAD-BAM Document 65 Filed 05/07/14 Page 2 of 2


1
     Dated: May 6, 2014                         BENJAMIN B. WAGNER
2                                               United States Attorney

3
                                         By:    /s/Grant B. Rabenn
4                                               GRANT B. RABENN
                                                Attorneys for the United States.
5

6

7

8

9                                              ORDER

10   IT IS HEREBY ORDERED that the continued competency hearing in the above-

11   captioned matter shall be set for May 16, 2016, 1:30 p.m.

12

13   IT IS SO ORDERED.

     Dated: May 7, 2014
14
                                               SENIOR DISTRICT JUDGE
15

16

17

18

19

20

21

22
     Stipulation and Order Re: Competency Hearing
23   U. S. v. Shirley Davidson, et al., Case No. 1:12-cr-00168 AWI/BAM             2
